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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

 CSX TRANSPORTATION, INC.,
 individually and on behalf of NORFOLK
 & PORTSMOUTH BELT LINE
 RAILROAD COMPANY,

                Plaintiff,

 v.                                                   Civil Action No. 2:18-cv-530-MSD-RJK

 NORFOLK SOUTHERN RAILWAY
 COMPANY, et al.,

                Defendants.
                                              /


                CSX TRANSPORTATION INC.’S NOTICE OF APPEAL
            BY DEFENDANT NORFOLK SOUTHERN RAILWAY COMPANY

        Plaintiff CSX Transportation, Inc. (“CSX”), by counsel, hereby notifies the Court that on

 August 15, 2022, Defendant Norfolk Southern Railway Company (“NSR”) filed a Petition for

 Review with the D.C. Circuit Court of Appeals. The NSR Petition for Review appears to challenge

 only approximately two paragraphs found on page 16 of the Surface Transportation Board’s

 (“STB”) Decision of June 17, 2022. Norfolk Southern Railway Co. v. Surface Transportation

 Board and United States of America, Case No. 22-1209 (D.C. Circuit). Copies of NSR’s Petition

 and the D.C. Circuit’s Order on initial docketing and submission deadlines are attached,

 respectively, as Exhibits A and B. The Petition avers that NSR is aggrieved by the STB’s

 rejection of NSR’s arguments that the ICC authorized NSR to control the NPBL in 1991 and 1998,

 making it immune to CSX’s antitrust claims in this case. See Petition, Ex. A at 3. NSR argues in

 the Petition for Review that it can appeal that aspect of the STB’s ruling to the D.C. Circuit, as



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 opposed to presenting it to this Court, because that particular argument by NSR was not part of the

 questions this Court referred to the STB for determination.

        CSX notifies the Court that it intends to file a motion to intervene in the Petition

 proceeding. CSX is providing this Notice to the Court of this appeal initiated by NSR, and CSX

 will continue to Notice the Court of any other material developments in the proceedings.



 Dated: August 17, 2022                       Respectfully submitted,


                                              CSX TRANSPORTATION, INC.
                                              By Counsel

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                                 CERTIFICATE OF SERVICE

        I certify that on this 17th day of August, 2022, a true and correct copy of the foregoing was

 served on all counsel of record via Notice of Electronic Filing by filing with the Court’s CM/ECF

 system.

                                              /s/ Robert W. McFarland
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